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                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF SOUTH CAROLINA

                                 CHARLESTON DIVISION


UNITED STATES OF AMERICA,           )               CRIMINAL NUMBER: 2:07-578
                                    )
-versus-                            )
                                    )
ALBERT E PARISH, JR.,               )               MOTION TO WITHDRAW
                                    )                  AS COUNSEL
            Defendant.              )
____________________________________)


TO:    THE HONORABLE DAVID C. NORTON


       NOW COMES Andrew J. Savage, III, of Savage & Savage, P.A., pursuant to Local Civil

Rule 83.I.07, hereby moves to withdraw as counsel. In support of this motion, counsel states as

follows:

       1.     On May 9, 2007, Mr. Parish was indicted on six counts in violation of 18 U.S.C. §

              1341 relative to wire fraud; four counts in violation of 18 U.S.C. §1343 relative to

              wire fraud; and one count in violation of 18 U.S.C. §1001 relative to false

              statements. He was arraigned and placed into custody on May 23, 2007. He was

              subsequently released under a secured bond following a hearing for bond

              modification on May 31, 2007.

       2.     On October 5, 2007, Mr. Parish pled guilty to Counts One, Four and Eleven of the

              Indictment.




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       3.      On June 26, 2008, Mr. Parish appeared before this Honorable Court and was

               sentenced to two hundred ninety-two (292) months imprisonment.

       4.      At the direction of the Defendant, counsel filed a Motion for Reconsideration of

               Sentencing Condition on July 9, 2008. Said Motion remains pending as of this filing.

       4.      At the direction of the Defendant, counsel filed a Notice of Intent to Appeal on July

               15, 2008.

       5.      Counsel for the Defendant seeks leave of this Court to withdraw as the Defendant’s

               legal counsel at the appellate stage because the Defendant has noticed his intent to

               appeal and the undersigned was retained only for purposes of representation before

               this Honorable Court. The undersigned acknowledges the pending Motion for

               Reconsideration of Sentencing Condition before this Court, and does not seek to

               withdraw that Motion.

       8.      Counsel has notified the Assistant United States Attorney, Carlton R. Bourne, Jr., of

               this request.

       9.      The Defendant has been notified of counsel’s intention to withdraw, and a copy of

               this Motion will be served upon him.



       WHEREFORE, counsel hereby requests leave to withdraw as counsel for Albert E. Parish,

Jr. and for the Court to appoint substitute counsel in the appellate process.




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                                               Respectfully submitted,

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                                        BY:     s/Andrew J. Savage, III
                                               ANDREW J. SAVAGE, III
                                               Federal ID Number: 3734
                                               ATTORNEY FOR DEFENDANT


Charleston, South Carolina

July 15, 2008.




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